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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY
                            BOWLING GREEN DIVISION
                         CIVIL ACTION NO. 1:23-CV-111-GNS

WALTER WILCOXSON                                                                PLAINTIFF


v.                                      ANSWER


PRINCIPAL LIFE INSURANCE COMPANY                                             DEFENDANT


       Now comes defendant Principal Life Insurance Company (“Principal”) and

answer’s Plaintiff’s Complaint as follows:

                                       First Defense

       Principal is entitled to rescind Disability Income Policy No. 7180760 (“the Policy”)

issued to Plaintiff with effective date of March 24, 2022, because Plaintiff made fraudulent

misrepresentations, omissions, and incorrect statements in his Application for the Policy.

                                     Second Defense

       Principal is entitled to rescind the Policy because Plaintiff made misrepresentations,

omissions, and incorrect statements in his Application for the Policy which were material

to Principal’s acceptance of the risk and to the hazard assumed by Principal.

                                      Third Defense

       Principal is entitled to rescind the Policy because, had Plaintiff disclosed his true

medical history on the Application for the Policy, Principal would not in good faith have

issued the Policy.
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                                      Fourth Defense

       Principal is entitled to rescind the Policy because, when the Policy was delivered

and the Amendment to Application was signed, Plaintiff was not in the state of health and

insurability represented in the Application.

                                          Fifth Defense

       The Policy was statutorily void at its inception because Principal would not have

issued the Policy without the misrepresentations, omissions, and incorrect statements in

Plaintiff’s Application for the Policy.

                                          Sixth Defense

       Principal is entitled to rescind the Policy because it tendered a complete refund of

all premiums paid for the Policy, plus interest.

                                     Seventh Defense

       Principal correctly and reasonably denied Plaintiff’s claim for disability benefits

under the Policy because the Policy was void ab initio and not in effect due to the material

misrepresentations, omissions, and incorrect statements in Plaintiff’s Application for the

Policy.



                                      Eighth Defense

       Principal reserves the right to assert additional defenses including those that become

known in the course of this litigation.




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                                       Ninth Defense

       Principal answers the numbered Paragraphs of Plaintiff’s Complaint as follows:

                                        Introduction

       1.     For answer to Paragraph 1, Principal admits that Plaintiff seeks a declaratory

judgment determining whether Principal properly rescinded the Policy and denies that

Plaintiff is entitled to a declaratory judgment in his favor.

       2.     For answer to the first sentence of Paragraph 2, Principal is without

knowledge or information sufficient to form a belief as to Plaintiff’s intent, and therefore

can neither admit nor deny any allegations regarding it. For answer to the second sentence

of Paragraph 2, Principal adopts and incorporates by reference its answers in each

Paragraph of each section of the Complaint as if set forth therein verbatim.

       3.     For answer to Paragraph 3, Principal admits that the factual allegations in the

Complaint are not exhaustive and that they provide notice of the basis for Plaintiff’s claim.

Except as specifically admitted herein, Principal denies the allegations in Paragraph 3.

       Footnote 1.          For answer to Footnote 1, Principal states that this Footnote

contains a legal citation to which no response is required of Principal.

                                   Jurisdiction & Venue

       4.     For answer to Paragraph 4, Principal admits this action was properly

removed to this United States District Court, sitting in diversity. For further answer,

Principal prays reference to KRS 418.040 and CR 57, which speak for themselves, for a

complete and accurate disclosure of their provisions, and Principal denies any allegations


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inconsistent with those provisions. Except as specifically admitted herein, Principal denies

the allegations in Paragraph 4.

       5.      For answer to Paragraph 5, Principal admits that venue is proper in this

United States District Court and admits on information and belief that Plaintiff resides in

Hart County. Except as specifically admitted herein, Principal denies the allegations in

Paragraph 5.

                                           Parties

       6.      Principal admits the allegations in Paragraph 6 on information and belief.

       7.      For answer to the first sentence of Paragraph 7, Principal admits that it issued

the Policy, but denies that there is any insurance coverage under the Policy because it was

void ab initio and not in effect due to the material misrepresentations, omissions, and

incorrect statements in Plaintiff’s Application for the Policy. Principal admits the

allegations in the second and third sentences of Paragraph 7. Except as specifically

admitted herein, Principal denies the allegations in Paragraph 7.

                                General Factual Allegations

       8.      For answer to Paragraph 8, Principal denies that Plaintiff became insured

under the Policy because the Policy was void ab initio and not in effect due to the material

misrepresentations, omissions, and incorrect statements in Plaintiff’s Application for the

Policy.

       9.      For answer to Paragraph 9, Principal admits it received a Disability Claim

Notice from Plaintiff in which he claimed total disability as of December 31, 2022. Except


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as specifically admitted herein, Principal denies the allegations in Paragraph 9.

       10.     For answer to Paragraph 10, Principal admits it received a Disability Claim

Notice from Plaintiff in which he claimed total disability as of December 31, 2022. Except

as specifically admitted herein, Principal denies the allegations in Paragraph 10.

       Footnote 2. For answer to Footnote 2, Principal states that this Footnote contains

a legal citation to which no response is required of Principal.

       11.     For answer to Paragraph 11, Principal admits that it rescinded the Policy and

denied Plaintiff’s claim for disability benefits, and Principal notified Plaintiff of its decision

by letter dated June 13, 2023. For further answer, Principal prays reference to its letter

dated June 13, 2023, which speaks for itself and contains the rationale for Principal’s

decisions and denies any allegations inconsistent with the contents of that letter.

                                Claim for Declaratory Relief

       12.     For answer to Paragraph 12, Principal denies that any contract was formed

because the Policy was void ab initio and not in effect due to the material

misrepresentations, omissions, and incorrect statements in Plaintiff’s Application for the

Policy.

       13.     For answer to Paragraph 13, Principal denies that Plaintiff is or was an

insured under the Policy because the Policy was void ab initio and not in effect due to the

material misrepresentations, omissions, and incorrect statements in Plaintiff’s Application

for the Policy. Principal further admits that Plaintiff seeks a declaration of his rights under




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the Policy but denies that Plaintiff has any rights under the Policy or that Plaintiff is entitled

to declaratory relief in his favor.

       14.      For answer to Paragraph 14, Principal admits that Plaintiff seeks a

declaration of his rights under the Policy, but denies that Plaintiff has any rights under the

Policy or that Plaintiff is entitled to declaratory relief in his favor because Principal is

entitled to rescind the Policy as void ab initio and not in effect due to the material

misrepresentations, omissions, and incorrect statements in Plaintiff’s Application for the

Policy.

                                       Prayer for Relief

          Any and all allegations, contentions, and prayers for relief not specifically admitted

herein are expressly denied. Principal denies that Plaintiff is entitled to the relief sought in

Paragraphs 15, 16, and 17 of his Prayer for Relief, or to any other relief under any claim,

cause of action, or theory of recovery.

       This 30th day of August, 2023.


                                             Respectfully submitted,

                                             /s/ Robert L. Steinmetz
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 30, 2023, I electronically filed the foregoing with the
clerk of the court by using the CM/ECF system, which will send a copy to:

       Michael D. Grabhorn, m.grabhorn@grabhornlaw.com
       Andrew M. Grabhorn, a.grabhorn@grabhornlaw.com


                                              s/Robert L. Steinmetz




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